 Case 8:22-cv-02170-CJC-DFM Document 39-1 Filed 01/24/24 Page 1 of 18 Page ID #:165




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     Attorneys for Defendant Gina Raimondo,
10   Secretary, Department of Commerce
11
                              UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
15
     ARJUN BAKSHI,                              Case No. 8:22-cv-02170-CJC-DFM
16
                Plaintiff,                      REQUEST FOR JUDICIAL NOTICE IN
17                                              SUPPORT OF DEFENDANT GINA
                       v.                       RAIMONDO’S MOTION TO DISMISS
18                                              SECOND AMENDED COMPLAINT
     GINA RAIMONDO, et al.,
19
                Defendants.                     Hearing Date:    February 26, 2024
20                                              Hearing Time:    1:30 p.m.
                                                Ctrm:            9B
21
22                                              Honorable Cormac J. Carney
                                                United States District Judge
23
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 Case 8:22-cv-02170-CJC-DFM Document 39-1 Filed 01/24/24 Page 2 of 18 Page ID #:166




1          Defendant Gina Raimondo, Secretary, Department of Commerce (the “Secretary”)
2    requests that the Court take judicial notice under Federal Rule of Evidence 201 of the
3    Notice of Final Order of Department of Commerce’s final action in Complaint Number
4    55-2022-0004 (EEOC Number 570-2022-00827X). The first page of the Notice of Final
5    Order is attached as part of Exhibit F to Plaintiff’s Second Amended Complaint. See
6    Dkt. 38 at 25. A complete copy of the Notice of Final Order is attached to this request
7    for judicial notice as Exhibit A.
8          The court may take judicial notice of matters in the public record, which includes
9    proceedings in other cases. See Lee v. City of L.A., 250 F.3d 668, 688-89 (9th Cir. 2001);
10   Bennett v. Medtronic, Inc., 285 F.3d 801, 803 n. 2 (9th Cir. 2002) (“We may take notice
11   of proceedings in other courts, both within and without the federal judicial system, if
12   those proceedings have a direct relation to matters at issue.” (alteration and internal
13   quotation marks omitted)); United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003)
14   (“A court may ... consider certain materials—documents attached to the complaint,
15   documents incorporated by reference in the complaint, or matters of judicial notice—
16   without converting the motion to dismiss into a motion for summary judgment.”). Under
17   Federal Rule of Evidence 201(b), a “judicially noticed fact must be one not subject to
18   reasonable dispute in that it is either: (1) generally known within the territorial
19   jurisdiction of the trial court; or (2) capable of accurate and ready determination by
20   resort to sources whose accuracy cannot reasonably be questioned.” A court may “take
21   judicial notice of undisputed matters of public record, including documents on file in
22   federal or state courts.” Harris v. Cnty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012)
23   (internal citation omitted). So too may a court consider documents on which plaintiff’s
24   complaint necessarily relies and whose authenticity is not contested. See Lee v. City of
25   Los Angeles, 250 F.3d 668, 688–89 (9th Cir. 2001).
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1    Dated: January 24, 2024         Respectfully submitted,
2                                    E. MARTIN ESTRADA
                                     United States Attorney
3                                    DAVID M. HARRIS
                                     Assistant United States Attorney
4                                    Chief, Civil Division
                                     JOANNE S. OSINOFF
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6
                                     /s/ Paul B. La Scala
7                                    PAUL B. LA SCALA
                                     Assistant United States Attorney
8
                                     Attorneys for Defendant Gina Raimondo,
9                                    Secretary, Department of Commerce
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      September 8, 2022


      _______________________________

       Arjun Bakshi,                                )
       Complainant                                  )
                                                    )
       v.                                           )    Complaint Number: 55-2022-00004
                                                    )    EEOC Number: 570-2022-00827X
       Gina Raimondo, Secretary                     )
       U.S. Department of Commerce                  )
                                                    )
      _______________________________

                                  NOTICE OF FINAL ORDER


      This is the Department of Commerce’s final action in Complaint Number 55-2022-00004
      filed by Arjun Bakshi (Complainant) against the International Trade Administration
      (Agency), U.S. Department of Commerce (Department).




      I.     Procedural History


      Following the completion of the investigation in his complaint, Complainant exercised his
      post-investigative options and requested a hearing before an Equal Employment
      Opportunity Commission (EEOC) administrative judge (AJ). The Department’s Office of
      Civil Rights (OCR) subsequently transmitted a copy of the complaint file to the EEOC.




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                                                                                                  55-2022-00004




      On August 16, 2022, AJ Cynthia McKnight of the EEOC’s Washington Field Office held
      an Initial Conference on August 16, 2022. Thereafter, AJ McKnight determined it was
      appropriate to issue a Notice of Proposed Decision Without a Hearing (“Notice”). The
      parties’ responses to the Notice were due by August 31, 2022 and the parties timely filed
      their responses to AJ McKnight’s Notice. AJ McKnight then reviewed the evidence
      contained in the Report of Investigation, and the parties’ responses to her Notice.


      On September 6, 2022, AJ McKnight issued a Decision Without A Hearing in favor of the
      Agency. The Department received the AJ’s Decision Without A Hearing on September 6,
      2022.


      As the Department chooses to adopt the AJ’s decision, this Notice of Final Order is being
      issued on or before October 17, 2022, 1 in compliance with 29 C.F.R. § 1614.110(a).




      II.      Statement of Claims Presented At Hearing


      Complainant, formerly an International Trade Specialist, GS-1140-12, with the U.S.
      Commercial Service, International Trade Administration, alleges that due to his age
      (month and year of birth: October 1975), race/national origin (Asian/India), color (not
      specified), and religion (Hindu), he was subjected to acts of discrimination and
      harassment constituting a hostile work environment. As evidence of discrimination and
      harassment he alleges the following:

            1. Hovan Asdourian, Director, U.S. Commercial Service, frequently made racially
               motivated and offensive comments such as:

               a. During his first conference call with him, Asdourian asked, “Are you ready to
                  move to Chicago? There are a lot of Black people and Mexicans that live
                  here?”

      1
       The 40th calendar day is Sunday, October 16, 2022. EEOC regulations state that the next business day
      will be used when a time limit date falls on Saturday, Sunday or a Federal holiday. See Title 29 Code of
      Federal Regulations (C.F.R.) section (§) 1614.604(d).

                                                           2

                                                     EXHIBIT A
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                b. When Asdourian wanted him to take basic MS Office courses from the
                   Commerce Learning Center, Asdourian commented, “This is something that
                   would be easy because it’s easy for all you Indians. You are all tech people.”

                c. On January 7, 2021, Asdourian made negative comments about “Indians” and
                   “Muslims” during a phone conversation and MS Teams meetings.

             2. Asdourian compelled Complainant to work with Ross Asdourian, Asdourian’s
                son, for a non-work-related personal deal that would benefit the Asdourian
                family. Complainant notes that Asdourian’s son also demonstrated discriminatory
                behavior, noting that Asdourian’s son picked a Pakistani/Indian restaurant for
                them to meet at in Los Angeles and commented, “You will feel at home with your
                own curry food.” Asdourian’s son said that his uncle is part of the Armenian
                Mafia in Boston and imports and sells fake products.

             3. On June 2, 2021, Asdourian requested that Complainant send him large quantities
                of products, such as KN95 masks and diabetic socks, which appeared to be more
                than for commercial purposes than personal use.

             4. On June 23, 2021, Asdourian had Complainant meet with his son in Los Angeles
                in order to help secure and import/export deal. Complainant says that this was a
                business deal for Asdourian’s son and not related to Complainant’s job duties.

             5. On or around April 11, 2021, Asdourian called him requesting he secure more
                masks and socks.

             6. Asdourian deliberately did not sign Complainant’s performance review at the end
                of the fiscal year. Complainant says that he believes that Asdourian did not do so
                because he (Complainant) would have met all of the performance metrics and
                because there were no complaints about his performance.

             7. On September 24, 2021, Asdourian issued him a notice removing him from
                Federal service during his probationary period.



      III.      Analysis


      After carefully reviewing the entire record in this complaint, we have decided to
      implement or adopt without modification the decision of the EEOC AJ as it is fully
      supported by the evidence and follows appropriate case law precedent.




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      IV.      Attorney’s Fees and/or Costs


      Complainant is not a prevailing party and was not represented by an attorney.
      Accordingly, we find that an award of attorney’s fees is not appropriate here.




      V.       Right to Appeal 2 or File a Civil Action


      If Complainant is not satisfied with the final action in this complaint, one (1) of the
      two (2) actions described below may be taken. Either action selected must be taken
      within the specified time frames.


            1. Appeal the Final Order to the EEOC by submitting the enclosed Notice of
               Appeal/Petition, EEOC Form 573, to the EEOC, Office of Federal
               Operations (OFO), using one of the following methods, or filing an appeal
               online using the EEOC Public Portal :

                       By Mail:

                       Director, Office of Federal Operations
                       Equal Employment Opportunity Commission
                       P. O. Box 77960
                       Washington, D.C. 20036

                       By Personal Delivery:

                       Director, Office of Federal Operations
                       Equal Employment Opportunity Commission
                       One Noma Station
                       131 M Street, NE, Fourth Floor, Suite 4NWO2F
                       Washington, D.C. 20507




      2
        In light of the National Emergency declared by the President due to the Coronavirus (COVID-19), the
      EEOC’s Office of Federal Operations issued instructions regarding the processing of Federal sector EEO
      complaints via an April 6, 2020 memorandum and then again on July 26, 2020. The EEOC has directed
      that the April 6, 2020 memorandum and the July 26, 2020 memorandum should be provided to those with
      pending matters. As such, at this time, these documents are enclosed. Complainant should pay particular
      attention to those provisions concerning appeals.

                                                         4

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                     By Facsimile:

                     Facsimile Telephone (202) 663-7022 or (FTS) 989-7022

                     EEOC Public Portal:

                     The EEOC highly recommends that filing appeals online using the EEOC
                     Public Portal at https://publicportal.eeoc.gov/, and clicking on the “Filing
                     with the EEOC” link. If one has not already registered in the Public
                     Portal, one will be asked to register by entering one’s contact information
                     and confirming one’s email address. Once registered, one can request an
                     appeal, upload relevant documents (e.g., a statement or brief in support of
                     the appeal), and manage personal and representative information. During
                     the adjudication of the appeal, one can also use the Public Portal to view
                     and download the appellate record. If one uses the Public Portal to file an
                     appeal, one does not have to send a copy to the Agency.

      Time Frames: If an attorney does not represent Complainant, the appeal must be filed
      within 30 calendar days of receipt of this final order. If an attorney represents
      Complainant, then the appeal must be filed within 30 calendar days of the date the
      attorney received the Notice of Final Order. See 29 C.F.R. § 1614.402(a).


      Also, a copy of any appeal submitted must be sent to the Department, at the address cited
      below, at the same time it is filed with the EEOC, OFO. Any statement or brief in
      support of an appeal must be submitted to the Director, OFO, within 30 calendar days of
      filing the appeal, and a copy must be provided to the Department at the following
      address:
                     The Office of Civil Rights, Room 6012
                     U. S. Department of Commerce
                     Washington, D.C. 20230




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                                              EXHIBIT A
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      2.     File a civil action in Federal district court.


      If a civil action is filed, Complainant must name the appropriate Department or Agency
      head as the defendant and provide his or her official title. Failure to name the head of the
      Department or Agency and/or the official title may result in the dismissal of the case.
      The appropriate Department or Agency is the Department of Commerce. The head of the
      Department of Commerce is Gina Raimondo, who is the Secretary of Commerce.


      Time Frames: A civil action must be filed within 90 calendar days of the date of
      receipt of the final order if no appeal has been filed. See 29 C.F.R. § 1614.408(a). If an
      appeal is filed, a civil action may be filed within 90 calendar days after receipt of the
      EEOC’s final decision on the appeal, or after 180 days from the date of filing an appeal,
      if there has been no final decision by the Commission.


      Right to Request Court Appointment of Counsel: If Complainant decides to file a
      civil action under Title VII or under the Rehabilitation Act, and does not have or cannot
      afford the services of an attorney, Complainant may petition the court for appointment of
      an attorney. In such circumstances as the court may deem just, the court may appoint a
      lawyer to represent Complainant and may authorize such services without payment of
      fees, costs, or other security. The grant or denial of the request for a court appointed
      attorney is within the sole discretion of the court. Filing a request for an attorney does
      not extend time limitations for filing a civil action. Both the request and the civil action
      must be filed within 90 calendar days of the date of receipt of the EEOC’s decision.




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   3.     Complaint Numbers


   The complaint numbers identified on the first page of this Notice of Final Order should
   be used on all official correspondence.



   _____________________________
   Paul S. Redpath
   Chief, Program Implementation Division
   Office of Civil Rights
   U.S. Department of Commerce

   September 8, 2022
   _____________________________
   Date Issued

   Enclosure




                                                 7

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                                                                                   55-2022-00004


                                      Certificate of Service

   I attest that a copy of this Notice of Final Order has been sent to the parties below:

   Via Kiteworks Secure File Transfer:

   Administrative Judge Cynthia McKnight
   (Cynthia.McKnight@eeoc.gov)

   Lawrence Hoodack, Esq.
   (LHoodack@LHDLegal.com)

   Arjun Bakshi
   (OOBAKSHI@GMAIL.COM)

   Matthew Obeid, Esq.
   (mobeid@doc.gov)

   Bernadette M. Worthy, EEO Officer for ITA
   (BWorthy@doc.gov)

   Other:

   Complaint File (Tab N)




   ___________________________________
   Signature

   September 8, 2022
   _______________________
   Date




                                                 8

                                            EXHIBIT A
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                               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                             Office of Federal Operations

                                            P. O. Box 77960

                                        Washington, D.C. 20013



                                             April 6, 2020
 Memorandum
 TO:            Federal Sector EEO Directors & Officials


 FROM:          Carlton M. Hadden
                Director, Office of Federal Operations

 SUBJECT:       Processing Information for All Parties in Federal EEO Processing under 29 CFR Part 1614


 In light of the National Emergency declared by the President due to the Coronavirus (COVID-
 19), the U.S. Equal Employment Opportunity Commission’s (EEOC) Office of Federal
 Operations (OFO) is issuing the following instructions regarding the processing of federal
 sector EEO complaints covered by 29 CFR Part 1614.
 The EEOC recognizes this crisis affects all federal employees, complainants, and others involved
 in the EEO process. We appreciate the dedication of federal EEO professionals throughout the
 federal government and we further recognize that the centerpiece of our efforts are the
 employees, applicants, and former employees who believe they have experienced employment
 discrimination and access our regulatory process for assistance. Nevertheless, the federal
 government remains open and committed to providing mission-critical services to the greatest
 extent possible, given the limitations inherent in the current environment.
 The EEOC also recognizes that, because of the National Emergency, applicants who utilize the
 EEO complaint process may face challenges that preclude them from meeting the regulatory
 timeframes set forth in 29 CFR Part 1614.
 The EEOC must balance its duty to ensure that the EEO process continues efficiently and
 effectively, without compromising the safety of federal employees or the rights or safety of
 complainants and others involved in the EEO process.
 The EEOC expects that agencies and employees will continue to process EEO complaints in a
 timely manner that will best preserve the legal rights of the parties involved, unless doing so
 would interfere with mission-critical operations for an agency. Accordingly, the Office of
 Federal Operations is issuing the following instructions, which will remain in effect until
 further notice:




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   1. Agencies will continue all counseling, investigations and other complaint processing set
      forth in 29 CFR Part 1614, except in circumstances meeting the criteria described below.

   2. To the extent practicable, regulatory timeframes concerning the processing of federal
      sector EEO complaints will continue to be met, wherever feasible. For this purpose,
      practicable means where the agency and complainant have access to needed witnesses,
      documents and representation, and where such processing will not interfere with the
      mission- critical operations of the agency.

   3. The regulatory timeframes set forth in 29 C.F.R. Part 1614 will be subject to the
      equitable tolling provisions set forth in 29 C.F.R. §1614.604(c). Absent mutual
      agreement, agencies and complainants will be required to document in the record the
      reason(s) why tolling any of the time limits set forth in 29 CFR Part 1614 is necessary.
      Such justification will fully be considered by the Commission in any appeal raised in the
      matter.

   4. Agencies and complainants are encouraged to seek mutual agreement with respect to the
      extension of any timeframes. Where such agreements are reached, they should be
      reduced to writing and made part of the record. OFO will honor such agreements on
      appeal, unless they are clearly onerous to one party or otherwise violate the standards for
      equitable tolling, waiver or estoppel.

   5. EEOC Administrative Judges will continue to manage the hearings program.
      Administrative Judges will continue to hold conferences, manage discovery, refer cases to
      ADR and settlement, issue summary judgment decisions and, where appropriate, hold
      hearings and issue decisions. In light of the National Emergency, either party can seek an
      extension or other relief from any deadline for good cause shown.

   6. The EEOC is deeply concerned about protecting (and committed to ensuring every
      federal employee continues to have) all their rights during this time of National
      Emergency. To that end, EEOC asks agency EEO offices to continue counseling
      employees, accepting their discrimination complaints, and investigating these
      complaints to the fullest extent possible without undermining mission-critical
      functions. We ask agencies not to issue final actions on any EEO complaint, unless the
      investigation is complete and the Complainant has requested that the final action be
      issued.

   7. EEOC will continue to prepare appellate decisions but will not mail those decisions. A
      Complainant who provides an e-mail address and waives first class mailing may request
      the decision via e-mail to ofo.eeoc@eeoc.gov . The Commission is extremely cognizant
      of preserving a party’s right to file a civil action in U.S. District Court. Given the current
      National Emergency, the Commission is suspending issuance of all appellate decisions
      via the U. S. mail until further notice in order to best preserve those rights.




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   8. Until further notice, OFO does not have access to U.S. Mail; rather, we ask that all
      submissions and communications from both agencies and complainants be digital, via
      the Public Portal/FEDSEP. We ask those who submitted items via U.S. Mail on or after
      March 6, 2020 to resubmit them via the Public Portal/FEDSEP.

   9. The Commission supports and encourages the use of digital documents and electronic
      signatures. A digital document used by a person, agency, or other entity shall have the
      same force and effect as those documents not produced by electronic means. “Electronic
      signature” means any digital symbol, sound, or process attached to or logically associated
      with a digital record and executed or adopted by a person with the intent to sign the
      record.

   10. Each agency subject to the regulations at 29 CFR Part 1614 is directed to forward a copy
       of this notice, using the most effective available method, to each Complainant with a
       pending EEO matter and to each person who hereafter contacts an agency EEO
       counselor or otherwise enters into the agency’s EEO process.

   11. For more Commission information and resources, please go to our COVID-19
       information links at: https://www.eeoc.gov/coronavirus/




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                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                 Office of Federal Operations
                                       P. O. Box 77960
                                  Washington, D.C. 20013


 Memorandum
 TO:            Federal Sector EEO Directors & Officials


 FROM:          Carlton M. Hadden
                Director, Office of Federal Operations

 SUBJECT:       Update – April 6, 2020 Memorandum on Processing Information


 We issued a memorandum dated April 6, 2020 regarding the processing of federal sector EEO
 complaints covered by 29 CFR Part 1614 in consideration of the National Emergency. The
 memorandum is attached for your ease of reference.
 The EEOC reiterates its appreciation of the critical work of federal EEO professionals during
 this time of challenge due to the Coronavirus (COVID-9). Your dedication is essential to
 ensuring access to the federal sector EEO process for all who need to utilize it.
 The EEOC previously recognized that, because of the National Emergency, applicants who
 utilize the EEO complaint process might have faced challenges that precluded them from
 meeting the regulatory timeframes set forth in 29 CFR Part 1614.
 Using phased approaches, several agencies and organizations have resumed fuller operations.
 EEOC believes that there are now fewer issues related to access to counsel and the Courts, and
 that further delays could negatively impact applicants’ ability to protect and exercise their
 rights effectively.
 Therefore, we are adjusting three of the instructions set forth in the April 6, 2020, memo. As
 discussed in further detail below, EEOC is instructing agencies to return to issuing final actions
 in the usual manner, unless there are compelling reasons not to do so. Effective Monday, July 27,
 2020, EEOC will also expand its issuance of appellate decisions.
 Instruction 6 provided as follows:
        The EEOC is deeply concerned about protecting (and committed to ensuring every federal employee
        continues to have) all their rights during this time of National Emergency. To that end, EEOC asks
        agency EEO offices to continue counseling employees, accepting their discrimination complaints, and
        investigating these complaints to the fullest extent possible without undermining mission-critical
        functions. We ask agencies not to issue final actions on any EEO complaint, unless the investigation is
        complete, and the Complainant has requested that the final action be issued.

 Instruction 7 provided as follows:




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        EEOC will continue to prepare appellate decisions but will not mail those decisions. A Complainant who
        provides an e-mail address and waives first class mailing may request the decision via e-mail to
        ofo.eeoc@eeoc.gov . The Commission is extremely cognizant of preserving a party’s right to file a civil
        action in U.S. District Court. Given the current National Emergency, the Commission is suspending
        issuance of all appellate decisions via the U. S. mail until further notice in order to best preserve those
        rights.

 Instruction 8 provided as follows:

        Until further notice, OFO does not have access to U.S. Mail; rather, we ask that all submissions and
        communications from both agencies and complainants be digital, via the Public Portal/FEDSEP. We ask
        those who submitted items via U.S. Mail on or after March 6, 2020 to resubmit them via the Public
        Portal/FEDSEP.

 The Instructions, noted above, are modified as follows:


 Instruction 6 as modified, follows:
        The EEOC remains deeply concerned about protecting (and committed to ensuring every federal employee
        continues to have) all their rights during this time of National Emergency. To that end, EEOC asks
        agency EEO offices to continue counseling employees, accepting their discrimination complaints, and
        investigating these complaints to the fullest extent possible without undermining mission-critical
        functions. Agencies should return to issuing final actions.

 Instruction 7 as modified, follows:

        EEOC is expanding issuance of appellate decisions. While the complainant may receive the appellate
        decision via U.S. Mail, a complainant who has an account with EEOC’s Public Portal, may waive receipt
        via U.S. Mail, and receive the decision via the EEOC Public Portal. Please note that there may be delays
        in the issuance of decisions sent by first class mail depending on staff access to EEOC’s headquarters.
        Federal agencies will receive the appellate decision via the FedSEP digital platform.

 Instruction 8 as modified, follows:

        While OFO has limited access to U.S. Mail; parties are encouraged to utilize the Commission’s digital
        platforms, such as the EEOC Public Portal or FedSEP, to communicate with OFO.

 With the exceptions of the modifications noted above, the Instructions as set forth in the April
 6, 2020 memorandum continue to remain in effect.

 Each agency subject to the regulations at 29 CFR Part 1614 is directed to forward a copy of this
 update and notice, using the most effective available method, to each Complainant with a
 pending EEO matter and to each person who hereafter contacts an agency EEO counselor or
 otherwise enters into the agency’s EEO process.




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                                  EXHIBIT A
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